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    Case 9:22-mj-08332-BER Document 62 Entered on FLSD Docket 08/16/2022 Page 1 of 3




                UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLOIUDA
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        IN Re SEA LED SEA RCH W ARR AN T                          Case N o.:9:22-M J-08332-BER -1

        V1aExpressM ail:EI392 695239 US

        August1!,2022
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                                                                  P.O .Box 832
                                                                  FarHills,Ne    w Jersey 07931
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        Hon.U .S.M agistrateJudgeBruceE.Reinhart
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        Re:Non-party Pro Se M otion toIntervenetoM oveto UnkealA11Underlying W arrantM atedals
            In Re Sealed Search W arranto9:22-M .
                                                1-08332-8ER

        DearHonorableM agistrateJudgeBruceE.Reinhart,

        Please acceptthisletterm em orandllm astim ely and consistentwith theRulesofCourtin support
        ofam otion to interveneforthelim ited pup oseofm iscellaneousrelieftotmseala11the
        remainingdocuments(includingtheCourt'snotes),relatedtothesealedsearchwarrantexecuted
        in theabovereferenced matter,a portion released on Augpst12,2022.Thispro seproposed
        intervenorisanon-party,non-mediamovant,butratheraPitizenoftheUrlited States,aresident
        ofthe greatSGte ofNew Jersey.

        Asnoted by otherm em orandllm sflled in thism atter:TheEleventh Circuitallowsthepublic-
        and press-to intervenein connection with theseàling ofcotlrtrecords,citinz Brown v.
        AdvantageEngineering.Inc.960F.3d 1013,1016(111 Cir.1992)(...anymemberofthepublic
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        sealed).Prb semembersofthepublichavein eFectbeen grantedsuchstanding.Seee.g.,In Re
        SealedSearchW arrant 2006W L 3690639(N.D.N .Y 2006().
        W hile tlalsm ovantasksto adoptand incorporate the appliùable legalreferences in the
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        mem orandum soflaw filed by theM edialntervenorsin connection with thi
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        shouldtherebeanyremotesuggestioninthosememorandllmsthatthetmsealingisnecessaryfor
        any ltrrablold''typereporting.

        VicePtesidentKamalaHnrrisrecently indicated thatshehas:115411cov dence''in theDepartment
        ofJusticerelatedtotheexecutedsearchwarrant.(Referenéeomitted.)However,even apartfrom
        theUnltedStatesGovernmenthavingtheburdentojustifykeeplngtheremainingdoomnents
        tmderseal,theUnhed StatesConstltutlon wasdeslgned wlth m any Eçchecksandbalances,''this
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        Case 9:22-mj-08332-BER Document 62 Entered on FLSD Docket 08/16/2022 Page 2 of 3




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          Forthereasonsstatedabove,theundersignçdrespectfully)requeststheCourtgranttherelief
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         theresponsestotheattemptstmderthisrule,Sledbythe4,ediaintervenors.
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         M ichaelS.B srth
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